
917 N.E.2d 526 (2009)
334 Ill.Dec. 700
In re JESSICA M., a Minor
(People State of Illinois, respondent,
v.
Jessica M., etc., petitioner).
No. 107594.
Supreme Court of Illinois.
November 25, 2009.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Jessica M., 385 Ill.App.3d 894, 325 Ill.Dec. 271, 897 N.E.2d 810 (2008). The appellate court is instructed to reconsider its decision in light of People v. Samantha V., 234 Ill.2d 359, 334 Ill.Dec. 661, 917 N.E.2d 487 (2009), to determine if a different result is warranted.
